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                                                                      UNITED STATES DISTRICT COURT
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                                                          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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                                                   CAMERON GAINER,                       Case No. 8:17-CV-00672
                                               7
                                                                 Plaintiff,                [Hon. James V. Selna]
                                               8
                                                   v.                                      ORDER TO CONTINUE
                                               9                                           DEFENDANT’S MOTION FOR
                                                   THE KETCHUM GROUP, INC., d/b/a          SUMMARY JUDGMENT
                                              10   OUTDOOR TECHNOLOGY,
R OBINS K APLAN LLP




                                              11                 Defendant.
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                                                                                              ORDER GRANTING GAINER’S EX-PARTE
                                                                                              APPLICATION
                                                   88833471.1
                                            Case 8:17-cv-00672-JVS-DFM Document 52 Filed 04/09/18 Page 2 of 2 Page ID #:1196



                                               1            PURSUANT TO PLAINTIFF’S EX-PARTE APPLICATION UNDER
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                                                   RULE 56(D) AND UNDER THE COURT’S INHERENT POWERS, IT IS
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                                               4   HEREBY ORDERED THAT Defendant the Ketchum Group, Inc,’s Motion for

                                               5   Summary Judgment (Dkt. 40) be continued until after the close of expert discovery
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                                                   in this matter. The parties shall agree on a combined date for the hearing of their
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                                               8   respective motions for Summary Judgment, that overlap in subject matter. Should
                                               9   there be disagreement with regard to scheduling or briefing, the parties shall
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                                                   arrange for a prompt telephonic status conference.
R OBINS K APLAN LLP




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                                              12      DATED: April 09, 2018
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                                              14                                          By:
                                              15                                                 Hon. James V. Selna
                                                                                                 United States District Judge
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                                                                                                STIPULATION REQUESTING EXTENSION
                                                                                                OF DISCOVERY CUT-OFF
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